

Matter of Warren v Zoning Bd. of Appeals of Town of W. Seneca (2025 NY Slip Op 02703)





Matter of Warren v Zoning Bd. of Appeals of Town of W. Seneca


2025 NY Slip Op 02703


Decided on May 2, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., OGDEN, DELCONTE, AND KEANE, JJ.


386 CA 24-00754

[*1]IN THE MATTER OF DANIEL T. WARREN, PETITIONER-PLAINTIFF-APPELLANT,
vZONING BOARD OF APPEALS OF TOWN OF WEST SENECA, TOWN OF WEST SENECA, CODE ENFORCEMENT OFFICER OF TOWN OF WEST SENECA AND CANISIUS HIGH SCHOOL OF BUFFALO, BY AND THROUGH FR. DAVID CIANCIMINO, S.J., AS ITS PRESIDENT, RESPONDENTS-DEFENDANTS-RESPONDENTS.






DANIEL T. WARREN, PETITIONER-PLAINTIFF-APPELLANT PRO SE. 
GRECO TRAPP LLC, BUFFALO (CHRIS G. TRAPP OF COUNSEL), FOR RESPONDENTS- DEFENDANTS-RESPONDENTS ZONING BOARD OF APPEALS OF TOWN OF WEST SENECA,
COSGROVE LAW FIRM, BUFFALO (JAMES C. COSGROVE OF COUNSEL), FOR RESPONDENT-DEFENDANT-RESPONDENT CANISIUS HIGH SCHOOL OF BUFFALO, BY AND THROUGH FR. DAVID CIANCIMINO, S.J., AS ITS PRESIDENT.


	Appeal from a judgment (denominated order) of the Supreme Court, Erie County (Craig D. Hannah, J.), entered April 5, 2024, in a proceeding pursuant to CPLR article 78 and declaratory judgment action. The judgment, inter alia, dismissed the petition-complaint. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs.
Memorandum: Petitioner-plaintiff (petitioner) commenced this hybrid CPLR article 78 proceeding and declaratory judgment action seeking, inter alia, to annul the determination of respondent-defendant Zoning Board of Appeals of the Town of West Seneca (ZBA), which had dismissed for lack of standing his administrative appeal challenging the issuance of a building permit by respondent-defendant Code Enforcement Officer of the Town of West Seneca to respondent-defendant Canisius High School for the further development of student athletic facilities. Petitioner appeals from a judgment that, inter alia, granted respondents' motion to dismiss the petition-complaint. We affirm.
Contrary to petitioner's contention, the ZBA properly determined that petitioner was not an aggrieved person pursuant to Town Law § 267-a (4) and, thus, lacked standing to prosecute an administrative appeal inasmuch as petitioner was not a party to the issuance of the building permit, nor an officer, department, board or bureau of the Town of West Seneca, and failed to establish that he "sustained special damage, different in kind and degree from the community generally" from the issuance of the permit (Matter of Sun-Brite Car Wash v Board of Zoning &amp; Appeals of Town of N. Hempstead, 69 NY2d 406, 413 [1987], rearg denied 70 NY2d 694 [1987]; see Matter of Nunnally v Zoning Bd. of Appeals of the Town of New Windsor, 217 AD3d 950, 952 [2d Dept 2023]; Matter of Hadland v Zoning Bd. of Appeals of Town of Southampton, 94 AD3d 1001, 1001-1002 [2d Dept 2012]).
In light of our determination, we do not address petitioner's remaining contentions.
Entered: May 2, 2025
Ann Dillon Flynn
Clerk of the Court








